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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                       )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )   Adv. Pro. No. 21-03005 (SGJ)
                                                                        )
NEXPOINT ADVISORS, L.P.,                                                )
                                                                        )
                              Defendant.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Hannah Bussey, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 17, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •   Debtor's Unopposed Motion for Leave to Serve and File Amended Complaint
          [Docket No. 55]


Dated: August 20, 2021
                                                          /s/ Hannah Bussey
                                                          Hannah Bussey
                                                          KCC
                                                          Meidinger Tower
                                                          462 South 4th Street
                                                          Louisville, KY 40202


1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                             EXHIBIT A
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                                                                Exhibit A
                                                          Adversary Service List
                                                         Served via Electronic Mail


             Description                      CreditorName          CreditorNoticeName                             Email
Financial Advisor to Official Committee                        Earnestiena Cheng, Daniel H       Earnestiena.Cheng@fticonsulting.com;
of Unsecured Creditors                  FTI Consulting         O'Brien                           Daniel.H.O'Brien@fticonsulting.com
                                                               Melissa S. Hayward, Zachery       MHayward@HaywardFirm.com;
Counsel for the Debtor               Hayward & Associates PLLC Z. Annable                        ZAnnable@HaywardFirm.com
Counsel for UBS Securities LLC and                             Andrew Clubok, Sarah              andrew.clubok@lw.com;
UBS AG London Branch                 Latham & Watkins LLP      Tomkowiak                         sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and                             Asif Attarwala, Kathryn K.        asif.attarwala@lw.com;
UBS AG London Branch                 Latham & Watkins LLP      George                            Kathryn.George@lw.com
Counsel for UBS Securities LLC and                             Jeffrey E. Bjork, Kimberly A.     jeff.bjork@lw.com;
UBS AG London Branch                 Latham & Watkins LLP      Posin                             kim.posin@lw.com
Counsel for UBS Securities LLC and                                                               Zachary.Proulx@lw.com;
UBS AG London Branch                 Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
Counsel for Highland Capital
Management Fund Advisors, L.P.,
NexPoint Advisors, L.P., Highland
Income Fund, NexPoint Strategic
Opportunities Fund and NexPoint      Munsch Hardt Kopf & Harr,     Davor Rukavina, Esq., Julian drukavina@munsch.com;
Capital Inc.                         P.C.                          P. Vasek, Esq.               jvasek@munsch.com
                                                                                                mclemente@sidley.com;
                                                                   Matthew Clemente, Alyssa     alyssa.russell@sidley.com;
Counsel for Official Committee of                                  Russell, Elliot A. Bromagen, ebromagen@sidley.com;
Unsecured Creditors                  Sidley Austin LLP             Dennis M. Twomey             dtwomey@sidley.com
                                                                                                preid@sidley.com;
                                                                   Penny P. Reid, Paige Holden pmontgomery@sidley.com;
Counsel for Official Committee of                                  Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Unsecured Creditors                  Sidley Austin LLP             Chandler M. Rognes           crognes@sidley.com




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                             EXHIBIT B
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                                                                                  Exhibit B
                                                                            Adversary Service List
                                                                          Served via First Class Mail


               Description                    CreditorName              CreditorNoticeName                   Address1                 Address2             City   State    Zip
  Counsel for UBS Securities LLC and                               Andrew Clubok, Sarah            555 Eleventh Street, NW,
  UBS AG London Branch                 Latham & Watkins LLP        Tomkowiak                       Suite 1000                                          Washington DC      20004
  Counsel for UBS Securities LLC and                               Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
  UBS AG London Branch                 Latham & Watkins LLP        George                          Ste. 2800                                           Chicago    IL      60611
  Counsel for UBS Securities LLC and                               Jeffrey E. Bjork, Kimberly A.
  UBS AG London Branch                 Latham & Watkins LLP        Posin                           355 S. Grand Ave., Ste. 100                         Los Angeles CA     90071
  Counsel for UBS Securities LLC and
  UBS AG London Branch                 Latham & Watkins LLP        Zachary F. Proulx, Jamie Wine 1271 Avenue of the Americas                           New York   NY      10020
  Counsel for Highland Capital
  Management Fund Advisors, L.P.,
  NexPoint Advisors, L.P., Highland
  Income Fund, NexPoint Strategic
  Opportunities Fund and NexPoint      Munsch Hardt Kopf & Harr,   Davor Rukavina, Esq., Julian
  Capital Inc.                         P.C.                        P. Vasek, Esq.                  3800 Ross Tower               500 N. Akard Street   Dallas     TX      75202




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